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                  UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
_________________________________________________________________

United States of America,                            Crim. No. 11-87(9) (MJD/JJK)

                   Plaintiff,

            v.

(9) Olugbenga Temidago Adeniran,
also known as Dennis Lok,                        ORDER AND
also known as Dayo Olugbega,            REPORT AND RECOMMENDATION
also known as Andre T. Andeiran,
also known as Andeniran T. Dayo,
also known as Oluwafemi Olarewaju Osibodu,
also known as Dayo, also known as Dre,
also known as Olugbenga Temidayo Adeniran,

               Defendant.
___________________________________________________________________

      This matter has been referred to this Court for a Report and

Recommendation pursuant to 28 U.S.C. § 636 and Dist. Minn. Loc. R. 72.1 on

the following pretrial motion: Defendant Adeniran’s Pretrial Motion to Dismiss the

Indictment on Double Jeopardy Grounds (Doc. No. 464).

      The motion filed by Adeniran’s counsel states that: “Defendant, by and

through his undersigned counsel, hereby violates the Double Jeopardy Clause of

the 5th Amendment to the United States Constitution because the Defendant has

been convicted in Hennepin County, Minnesota state court for the same offense

conduct.” (Doc. No. 464.) The motion says nothing more, other than that it

incorporates by reference portions from an attached letter written by Defendant
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Adeniran to his attorney on the subject. In this case, this Court previously issued

an Order stating that that Defendant Okeayainneh “shall not file any further pro se

motions unless granted permission by the Court.” (Doc. No. 384.) After further

review of the present motion, the motion appears to be a pro se motion brought

by Defendant Adeniran only masked by his attorney’s signature. The Defendants

and counsel in this case are hereby warned that this type of practice will not be

allowed.

      Also, on review of the issue presented, this Court has determined that the

motion is meritless. As a general rule, double jeopardy does not bar federal

prosecution of conduct which has previously been charged and tried in state

court, under the concept of dual sovereignty. Rinaldi v. United States, 434 U.S.

22, 28 (1977) (citing Bartkus v. Illinois, 359 U.S. 121 (1959); Abbate v. United

States, 359 U.S. 187 (1959)). Indeed, “[i]t has long been the law under the

doctrine known as dual sovereignty that federal prosecution following state

prosecution ‘of the same person for the same acts’ does not violate the

defendant’s criminal rights.” United States v. Basile, 109 F.3d 1304, 1306–07

(8th Cir. 1997) (quoting Abbate, 359 U.S. at 194). The only exception to the dual

sovereignty doctrine is where “‘the state prosecution was a sham and a cover for

a federal prosecution, and thereby in essential fact another federal prosecution.’”

Id. at 1307 (quoting Bartkus, 359 U.S. at 124). Defendant has made no such

assertion in this case and instead has merely argued that the Government is

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improperly prosecuting him again for the same crime he has already addressed in

state court. As such, Defendant’s motion to dismiss based on double jeopardy

grounds should be denied.

                                    ORDER

      Accordingly, the Court HEREBY ORDERS that:

      1.    This Court’s briefing schedule set forth in its September 27, 2011

Order at Doc. No. 470, is hereby VACATED; and

      2.    The hearing scheduled for October 11, 2011, at 3:00 p.m., before

Magistrate Judge Jeffrey J. Keyes, in Courtroom 6A, at 316 North Robert Street,

St. Paul, Minnesota, is CANCELLED.


                             RECOMMENDATON

      Based on the files, records and proceedings herein, IT IS HEREBY

RECOMMENDED that:

      1.    Defendant Adeniran’s Pretrial Motion to Dismiss the Indictment on

Double Jeopardy Grounds (Doc. No. 464), be DENIED.



Date: September 29, 2011                    _ s/ Jeffrey J. Keyes_____________
                                            JEFFREY J. KEYES
                                            United States Magistrate Judge


Under D.Minn. LR 72.2(b) any party may object to this Report and
Recommendation by filing with the Clerk of Court, and serving all parties by
October 13, 2011, a writing which specifically identifies those portions of this
Report to which objections are made and the basis of those objections. Failure to
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comply with this procedure may operate as a forfeiture of the objecting party's
right to seek review in the Court of Appeals. A party may respond to the
objecting party's brief within fourteen days after service thereof. All briefs filed
under this rule shall be limited to 3500 words. A judge shall make a de novo
determination of those portions of the Report to which objection is made. This
Report and Recommendation does not constitute an order or judgment of the
District Court, and it is therefore not appealable directly to the Circuit Court of
Appeals.




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